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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
MARIA ALEJANDRA CELIMEN SAVINO,    )
JULIO CESAR MEDEIROS NEVES,        )
All those similarly situated,      )
                                   )
                    Petitioners,   )
                                   )
          v.                       )              CIVIL ACTION
                                   )              NO. 20-10617-WGY
STEVEN J. SOUZA,                   )
Superintendent Bristol County      )
House of Corrections in his        )
Official Capacity,                 )
                                   )
                    Respondent.    )
___________________________________)


YOUNG, D.J.                                             April 2, 2020

                                   ORDER

          GROUP 1
          FIRST NAME       LAST NAME
          GERSON           MCGLASHIN
          HAYK             KHACHATRYAN
          HENRY            URBINA-RIVAS
          KOKOU            AZIABO
          ROBSON           MARIA-DE OLIVEIRA
          MOHAMAD          BASSYOUNI
          JESSE            MAINA
          JERVIS           VERNON
          SRIKALATHAN      ROHAN
          FIRDAVS          SALOKHIDINOV
          RUBEN            POGHOSYAN
          MARCIO           DE SAUZA
SO ORDERED.
                                             /s/ Wiliam G. Young
                                             WILLIAM G. YOUNG
                                             DISTRICT JUDGE
